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9
10                             UNITED STATES DISTRICT COURT
11                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                             WESTERN DIVISION – LOS ANGELES
13    PATAGONIA, INC.,                             Case No. 2:23-cv-04168
14                      Plaintiff,                 COMPLAINT FOR
                                                   COUNTERFEITING,
15           v.                                    TRADEMARK INFRINGEMENT,
                                                   UNFAIR COMPETITION,
16    NORDSTROM, INC.,                             DILUTION, AND COPYRIGHT
                                                   INFRINGEMENT
17                      Defendant.
18                                                 JURY TRIAL DEMAND
19
20           This lawsuit addresses Nordstrom, Inc.’s (“Nordstrom”) sale of thousands of
21    counterfeit Patagonia sweatshirts and t-shirts through its Nordstrom Rack stores.
22           Nordstrom holds itself out as a trusted retailer with a strong reputation among
23    its customers. For many years Nordstrom was an authorized dealer of Patagonia,
24    Inc.’s (“Patagonia”) apparel, in part because of that reputation. While Nordstrom is
25    no longer an authorized Patagonia dealer, Nordstrom’s customers expect to find
26    genuine Patagonia product at Nordstrom stores, including its Nordstrom Rack
27    stores, which Nordstrom advertises as carrying “the same vendors carried at
28    Nordstrom and [operates] . . . as an outlet for clearance merchandise from the

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1     Nordstrom banner.” That is why Nordstrom’s sale of counterfeit Patagonia apparel
2     is so damaging to Nordstrom’s customers and to Patagonia’s brand and reputation
3     with those customers.
4             These obvious counterfeits – especially to Nordstrom who knows Patagonia’s
5     products well – also deliberately mislead customers about the quality of the
6     materials used and the conditions in which they were made. The counterfeit
7     sweatshirts include a neck label prominently advertising “organic cotton” but a care
8     and content label listing the fiber as “100% recycled polyester.” The hang tag on
9     the products also includes a Fair Trade Certified™ logo, and states “This product is
10    made in a fair trade Certified™ sewing facility . [sic] which means we pay a
11    premium to workers so they can elevate their standard of living.” Patagonia has
12    spent decades, and invested millions of dollars, to establish product quality and fair
13    labor practices as pillars of its brand. These counterfeit products prey on
14    Patagonia’s reputation, misleading customers into buying poor quality products that
15    were, on information and belief, made in factories with conditions that do not meet
16    Fair Trade Certified™ requirements.
17            Examples of Nordstrom’s counterfeit products follow:
18    / / /
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22    / / /
23    / / /
24    / / /
25    / / /
26    / / /
27    / / /
28    / / /

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14           In an effort to avoid litigation, Patagonia brought this problem to Nordstrom’s
15    attention and requested that the company voluntarily recall the products or
16    reimburse customers. Because Nordstrom has failed to recall these fake, mislabeled
17    Patagonia-branded products (or even inform its customers that they purchased
18    counterfeits of inferior fabrication and quality), Patagonia must file this lawsuit to
19    prevent further harm to Patagonia and consumers. To prevent further damage to
20    consumers, Patagonia, and its brand, Patagonia alleges as follows:
21                             PARTIES, JURISDICTION, AND VENUE
22           1.     Patagonia, Inc. (“Patagonia”) is a California corporation headquartered
23    at 259 West Santa Clara Street, Ventura, California 93001. Patagonia has been
24    designing, developing, marketing, and selling outdoor apparel, accessories, and
25    active sportswear for nearly fifty years. Patagonia’s PATAGONIA brand and P-6
26    logo are famous in the United States and around the world, and instantly recognized
27    by consumers as a symbol of innovative apparel designs, quality products, and
28    environmental and corporate responsibility.

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1            2.     Defendant Nordstrom, Inc. is a Colorado and Washington corporation
2     headquartered at 1600 7th Avenue, Suite 2500, Seattle, Washington, 98191.
3     Nordstrom operates Nordstrom and Nordstrom Rack retail stores throughout the
4     country, including in California, and online at www.nordstrom.com and
5     www.nordstromrack.com. In SEC filings, Nordstrom describes its Nordstrom Rack
6     business as follows: “Nordstrom Rack purchases merchandise primarily from the
7     same vendors carried at Nordstrom and also serves as an outlet for clearance
8     merchandise from the Nordstrom banner.” See Nordstrom’s 2022 Annual Report,
9     accessed at https://press.nordstrom.com/static-files/789539ef-2c11-439f-9d71-
10    efa4cf4e86f0. Combining its sales through Nordstrom and Nordstrom Rack stores,
11    Nordstrom reported over $15 billion in revenue in 2022. Nordstrom offers,
12    promotes, and sells products that infringe Patagonia’s intellectual property rights
13    through its retail stores.
14           3.     Patagonia’s trademark and counterfeiting claims arise under the
15    Trademark Act of 1946 (the Lanham Act), as amended by the Trademark Dilution
16    Revision Act of 2006 (15 U.S.C. §§ 1051, et seq.). Patagonia’s claims for copyright
17    infringement arise from Defendant’s infringement of Patagonia’s exclusive rights
18    under the United States Copyright Act (17 U.S.C. §§ 101, et seq.). This Court has
19    jurisdiction over such claims pursuant to 28 U.S.C. §§ 1338(a) and 1338(b)
20    (trademark and unfair competition), 17 U.S.C. § 501 (copyright), 28 U.S.C. § 1331
21    (federal question), and 15 U.S.C. § 1121 (Lanham Act). This Court has jurisdiction
22    over the state law claims under 28 U.S.C. § 1367 (supplemental jurisdiction) and 28
23    U.S.C. § 1332 (diversity).
24           4.     This Court has personal jurisdiction over Defendant because Defendant
25    has purposefully availed itself of the privilege of doing business in this district.
26    Through the sale of the counterfeit and infringing products identified in this lawsuit,
27    Defendant has directed its conduct into this district, including by selling and
28    promoting such products into the district through its retail stores in California, and

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1     individually targeting Patagonia, a corporation they know has its principal place of
2     business in this district.
3            5.     Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and 1400(a)
4     because Defendant infringes Patagonia’s intellectual property in this district,
5     transacts business in this district, and a substantial part of the events giving rise to
6     the claims asserted arose in this district.
7                 FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
8     Patagonia’s History
9            6.     Patagonia was founded in the late 1960s to design and sell climbing
10    clothes and other active sportswear. The company adopted the brand
11    “PATAGONIA” to differentiate a related business that designed and manufactured
12    climbing gear and tools. PATAGONIA was chosen as the trademark to call to mind
13    romantic visions of glaciers tumbling into fjords, jagged windswept peaks, gauchos,
14    and condors. Since at least 1973, the PATAGONIA brand has appeared on a multi-
15    colored label inspired by a silhouette of the jagged peaks of the Mt. Fitz Roy skyline
16    (the “P-6 logo”).
17           7.     In the fifty years since Patagonia’s business started, the PATAGONIA
18    brand and its P-6 logo have become among the most identifiable brands in the
19    world. Patagonia’s products now include a wide range of apparel products and
20    equipment, including t-shirts, hoodies, sweatshirts, and fleece, as well as technical
21    products designed for climbing, skiing and snowboarding, surfing, fly fishing, and
22    trail running, which are sold around the world.
23           8.     Over the years, Patagonia has been recognized and honored for its
24    business initiatives, including receiving the Sustainable Business Counsel’s first
25    “Lifetime Achievement Award.” In 1996, with an increased awareness of the
26    dangers of pesticide use and synthetic fertilizers used in conventional cotton
27    growing, Patagonia began the exclusive use of organically grown cotton and has
28    continued that use for more than twenty years. In 2017, Patagonia helped establish

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1     the Regenerative Organic Certified® program, a holistic agriculture certification
2     encompassing pasture-based animal welfare, fairness for farmers and workers, and
3     robust requirements for soil health and land management. In Spring 2020,
4     Patagonia launched its first cotton clothing grown on farms working toward
5     certification, and in Spring 2022, released its first Regenerative Organic Certified®
6     products, signifying that those cotton suppliers met the ROA’s high standards for
7     soil health, social fairness and animal welfare. It was a founding member of the Fair
8     Labor Association®, which is an independent multi-stakeholder verification and
9     training organization that audits apparel factories. Additionally, since 1985
10    Patagonia has pledged 1% of sales to environmental groups to preserve and restore
11    our natural environment, donating more than $100 million to date. In 2002,
12    Patagonia’s founder, Yvon Chouinard, along with others, created a non-profit called
13    1% For the Planet® to encourage other businesses to do the same. Today, more than
14    1,200 member companies have donated more than $150 million to more than 3,300
15    nonprofits through 1% For the Planet. In 2012, Patagonia became one of
16    California’s first registered Benefit Corporations, ensuring Patagonia could codify
17    into its corporate charter consideration of its workers, community, and the
18    environment. In 2016, Patagonia pledged to donate all revenue from sales on Black
19    Friday, donating $10 million to environmental grantees in response to customers’
20    purchases on that day. In 2018, Patagonia pledged an additional $10 million in
21    grants to environmental groups in response to recent tax cuts given to businesses.
22    Over the course of two weeks in December 2019, Patagonia matched another $10
23    million in donations to environmental and other grassroots organizations.
24    Patagonia’s owners recently donated their holdings in the company to support
25    initiatives and innovations addressing climate change.
26    Patagonia’s Trademarks
27           9.     Patagonia owns numerous registrations for its distinctive P-6 logo and
28    PATAGONIA trademark, covering a wide-ranging assortment of products. Among

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1     these are the following U.S. trademark registrations:
2                                                                                 Date of
                                   Reg. No. /                                      First
3
             Trademark             Reg. Date                  Goods                Use
4
                                 1189402 /        Men’s and Women’s           08/1974
5                                                 Clothing-Namely, Sweaters,
                                 Feb. 9, 1982     Rugby Shirts, Walking
       PATAGONIA
6                                                 Shorts, Trousers, Jackets,
                                                  Mittens, Hoods and Rainwear
7
                                 1294523 /      Men’s, Women’s and               08/1974-
8                                               Children’s Clothing-Namely,
                                 Sept. 11, 1984 Jackets, Pants, Vests, Gloves,   1981
9                                               Pullovers, Cardigans, Socks,
                                                Sweaters, Underwear, Shirts,
10                                              Shorts, Skirts and Belts
11
                                 1547469 /        Men’s, Women’s and           08/1974-
12                                                Children’s Clothing- Namely,
                                 July 11, 1989    Jackets, Pants, Shirts,      1981
13                                                Sweaters, Vests, Skirts,
                                                  Underwear Tops and
14                                                Bottoms, Socks, Gloves,
                                                  Mittens, Hats, Face Masks,
15                                                Balaclava, Gaiters,
                                                  Suspenders, and Belts
16
                                 2260188 /        Computerized on-line             10/1995
17                                                ordering activities in the field
                                 July 13, 1999    of clothing and accessories;
18                                                Providing information in the
                                                  field of technical clothing and
19     PATAGONIA                                  accessories for use in
                                                  recreational, sporting and
20                                                leisure activities; providing
                                                  information in the field of
21                                                existing and evolving
                                                  environmental issues
22
                                 2392685 /        On-line retail store and mail   10/1995
23                                                order services featuring
                                 Oct. 10, 2000    technical clothing, footwear,
24     PATAGONIA.COM                              and accessories; Computer
                                                  services in the nature of on-
25                                                line information related to the
                                                  environment and clothing
26
                                 2662619 /        Retail store services featuring 06/1986
27     PATAGONIA                                  clothing, footwear, luggage
                                 Dec. 17, 2002    and a wide variety of sporting
28                                                goods and accessories

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1
                                                                                    Date of
2                                   Reg. No. /                                       First
3            Trademark              Reg. Date                 Goods                  Use

4                                5561006 /      Stickers; paper banners;           12/1991
                                                fiction and non-fiction books
                                 Sept. 11, 2018 on a variety of topics;
5      PATAGONIA                                posters; non-magnetically
6                                               encoded gift cards;
                                                photographs
7
8            These registrations for Patagonia’s trademarks and logos are in full force and
9     effect. The registrations (with the exception of Reg. No. 5561006) have become
10    incontestable under 15 U.S.C. § 1065. A color image of the P-6 logo follows:
11
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15
16    Patagonia also owns registered and common law rights for its well-known WORN
17    WEAR mark and below design mark (collectively, the “WORN WEAR Marks”) for
18    retail services, along with individual apparel products (and other related goods) and
19    its repair and trade-in programs. See https://wornwear.patagonia.com/. Among
20    these are the following U.S. trademark registrations and applications:
21
22                                 Reg./App.
                                     No. /                                          Date of
23                                 Reg./App.                                         First
24           Trademark               Date                 Classes/Goods              Use
25                               Reg. No.         035 Retail store services        Oct. 07,
                                                  featuring vintage and used
26                               4955520 /        clothing, footwear, luggage,     2012
           WORN WEAR
                                 May 10, 2016     and outdoor gear and
27                                                accessories
28

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1
                                    Reg./App.
2                                     No. /                                           Date of
3                                   Reg./App.                                          First
              Trademark               Date                 Classes/Goods               Use
4
                                  Reg. No.         035 Retail store services          Oct. 07,
5                                                  featuring vintage and used
                                  4623527 /        clothing, footwear, luggage,       2012
6                                 Oct. 21, 2014    and outdoor gear and
                                                   accessories
7
8
9                                 App. No.         018 Backpacks; All-purpose         Sep. 01,
                                                   carrying bags; Duffle bags;
10                                97380428 /       Messenger bags; Travel bags        2017 /
                                  Apr. 25, 2022                                       Oct. 07,
11                                                 025 Clothing, namely, tops,        2012
            WORN WEAR                              bottoms, shirts, jackets, coats,
12                                                 parkas, vests, pullovers,
                                                   sweaters, sweatshirts, hooded
13                                                 sweatshirts, dresses, skirts,
                                                   pants, jeans, shorts, board
14                                                 shorts
15                                App. No.         018 Backpacks; All-purpose         Sep. 01,
                                                   carrying bags; Duffle bags;
16                                97387380 /       Messenger bags; Travel bags        2017 /
                                  Apr. 28, 2022                                       Oct. 07,
17                                                 025 Clothing, namely, tops,        2012
                                                   bottoms, shirts, jackets, coats,
18                                                 parkas, vests, pullovers,
                                                   sweaters, sweatshirts, hooded
19                                                 sweatshirts, dresses, skirts,
                                                   pants, jeans, shorts, board
20                                                 shorts
21
22            The registrations for the WORN WEAR Marks are in full force and effect.
23     The registrations have become incontestable under 15 U.S.C. § 1065.
24            Collectively, these marks, Patagonia’s other registered trademarks, and its
25     common law marks are referred to as the “PATAGONIA trademarks.” Patagonia
26     also owns registered copyrights for the P-6 logo (Registration No. VA 1-801-788).
27            10.    The PATAGONIA trademarks are distinctive, arbitrary and fanciful,
28     entitled to the broadest scope of protection, and certain of the PATAGONIA

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1      trademarks are registered worldwide.
2             11.    For many years prior to the events giving rise to this Complaint and
3      continuing to the present, Patagonia annually has spent enormous amounts of time,
4      money, and effort advertising and promoting the products on which its PATAGONIA
5      trademarks are used. PATAGONIA brand products are advertised in a variety of
6      contexts and media, including in print and on the Internet. In addition to advertising
7      by Patagonia, the PATAGONIA trademarks are also advertised and promoted and
8      presented at point of sale by numerous authorized retailers. Consumers, accordingly,
9      are exposed to the PATAGONIA trademarks in a wide range of shopping and post-
10     sale contexts.
11            12.    Patagonia has sold its PATAGONIA brand products all over the world,
12     including throughout the United States and California. Through its promotion and
13     investment in its brand and extensive sales, publicity, awards, and leadership trying
14     to minimize the environmental impact of its business, Patagonia has acquired
15     enormous goodwill in its PATAGONIA trademarks. The PATAGONIA trademarks
16     are famous within the meaning of the Trademark Dilution Revision Act, enjoy
17     strong consumer recognition, and are recognized around the world and throughout
18     the United States by consumers as signifying high-quality products made by a
19     responsible company.
20     Defendant’s Infringement of Patagonia’s Rights
21            13.    In blatant disregard of Patagonia’s rights in the PATAGONIA
22     trademarks – and without authorization from Patagonia – Defendant has promoted,
23     offered for sale, and sold apparel bearing designs and logos that are identical to
24     Patagonia’s P-6 logo and PATAGONIA word mark, and using tags and labels that
25     reproduce Patagonia’s WORN WEAR mark, which inevitably will imply to
26     consumers that Patagonia has endorsed or authorized these products. These designs
27     and logos, and the products bearing them, are referred to as Defendant’s
28     “Counterfeit Designs.”

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1              14.   On information and belief, Defendant began selling counterfeit
2      Patagonia products at Nordstrom Rack stores shortly after the end of the years-long
3      dealer relationship between Patagonia and Nordstrom. Through that dealer
4      relationship, Nordstrom sold genuine Patagonia products in all Nordstrom stores and
5      e-commerce channels, and collaborated with Patagonia on projects like the
6      “Concept 004” in-store retail environment, which presented Patagonia’s Worn
7      Wear®-branded repaired or recycled apparel and other Patagonia products to
8      Nordstrom shoppers in Los Angeles, New York, Seattle, and Vancouver. An
9      example of Nordstrom’s presentation of the Patagonia brand during the parties’
10     dealer relationship follows.
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21            15.    Patagonia recently elected not to renew the dealer agreement with
22     Nordstrom, and Nordstrom proceeded to sell through its on-hand inventory of
23     Patagonia products. In 2023, Patagonia discovered products bearing the Counterfeit
24     Designs in Nordstrom Rack stores.
25            16.    The Counterfeit Designs are identical to the P-6 logo artwork and
26     trademark, and identical to the PATAGONIA word mark. Defendant’s products
27     bearing the Counterfeit Designs are identical to and compete directly with goods
28     sold by Patagonia, including sweatshirts and t-shirts.

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1             17.    Defendant’s use of the Counterfeit Designs has caused or will cause a
2      likelihood of confusion among consumers regarding the source of Defendant’s
3      products, and whether Patagonia has sponsored, licensed, authorized, or is somehow
4      affiliated with Defendant.
5             18.    Defendant began using the Counterfeit Designs long after the
6      PATAGONIA trademarks became famous. The Counterfeit Designs have caused or
7      are likely to cause dilution of Patagonia’s famous and distinctive marks by
8      diminishing their distinctiveness and singular association with Patagonia. Patagonia
9      has no alternative but to protect its goodwill and famous trademark by obtaining an
10     injunction against Defendant’s further use of the counterfeit trademark and designs.
11            19.    Patagonia is informed and believes that Defendant has marketed and
12     sold substantial quantities of products bearing the Counterfeit Designs through
13     Nordstrom Rack stores across the country, and has profited (and continues to derive
14     commercial benefit) from such sales. Defendant’s conduct has been willful.
15            20.    Based on a review of the labeling affixed to products bearing the
16     Counterfeit Designs, Defendant’s products bearing the Counterfeit Designs are
17     made out of polyester but are falsely labeled as organic cotton, which poses a
18     substantial risk of danger to the public.
19            21.    Defendant’s actions have caused and will cause Patagonia irreparable
20     harm for which money damages and other remedies are inadequate. Unless
21     Defendant is restrained by this Court, Defendant will continue expanding its illegal
22     activities and otherwise continue to cause irreparable damage and injury to
23     Patagonia by, among other things:
24                   a.         Depriving Patagonia of its statutory rights to use and control
25     use of its trademark;
26                   b.         Creating a likelihood of confusion, mistake, and deception
27     among consumers and the trade as to the source of the counterfeit products;
28                   c.         Causing the public falsely to associate Patagonia with

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1      Defendant and/or its products;
2                    d.         Causing the public falsely to believe Patagonia has collaborated
3      with Defendant, entered a co-branding relationship with Defendant, or is otherwise
4      associated with Defendant and/or its products;
5                    e.         Causing the public falsely to believe Patagonia has mislabeled its
6      apparel products, holding them out as Organic Cotton – a fabric that Patagonia
7      committed to using for all of its cotton apparel in 1996 – while actually using low
8      quality polyester;
9                    f.         Causing incalculable and irreparable damage to Patagonia’s
10     goodwill and diluting the capacity of its famous PATAGONIA trademarks to
11     differentiate its products from those of its competitors;
12                   g.         Causing incalculable and irreparable damage to Patagonia’s
13     licensing and collaboration programs, and to Patagonia’s ability to control its
14     brand partnerships and to associate itself with entities who are specifically
15     aligned to Patagonia’s company mission; and
16                   h.         Causing Patagonia to lose sales of its genuine PATAGONIA
17     products.
18            22.    Accordingly, in addition to other relief, Patagonia is entitled to
19     injunctive relief against Defendant, including an injunction requiring Defendant to
20     recall all products bearing the Counterfeit Designs.
21                                             FIRST CLAIM
22                          FEDERAL TRADEMARK INFRINGEMENT
23                                        (15 U.S.C. §§ 1114-1117)
24            23.    Patagonia realleges and incorporates by reference each of the
25     allegations contained in paragraphs 1 through 22 of this Complaint.
26            24.    Defendant has used, in connection with the sale, offering for sale,
27     distribution, or advertising of its products bearing the Counterfeit Designs, words
28     and symbols that infringe upon Patagonia’s PATAGONIA trademarks.

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1             25.    These acts of trademark infringement have been committed with the
2      intent to cause confusion, mistake, or deception, and are in violation of 15 U.S.C.
3      § 1114. The fact that Defendant was previously an authorized dealer – and therefore
4      familiar with Patagonia’s trademarks, products, and labeling – underscores the
5      willfulness with which Defendant decided to source and sell the counterfeit products
6      at issue in this lawsuit.
7             26.    As a direct and proximate result of Defendant’s conduct, Patagonia is
8      entitled to recover up to treble the amount of Defendant’s unlawful profits and
9      Patagonia’s damages and an award of attorneys’ fees under 15 U.S.C. § 1117(a).
10            27.    Patagonia is entitled to injunctive relief pursuant to 15 U.S.C. § 1116(a)
11     that requires Defendant to stop use of the Counterfeit Designs, and any other mark
12     or design similar to the PATAGONIA trademarks.
13                                       SECOND CLAIM
14                              FEDERAL UNFAIR COMPETITION
15         (False Designation of Origin and False Description – 15 U.S.C. § 1125(a))
16            28.    Patagonia realleges and incorporates by reference each of the
17     allegations contained in paragraphs 1 through 27 of this Complaint.
18            29.    Defendant’s conduct as alleged in this Complaint constitutes the use of
19     symbols or devices tending falsely to describe the counterfeit products, within the
20     meaning of 15 U.S.C. § 1125(a)(1). Defendant’s conduct is likely to cause
21     confusion, mistake, or deception by or in the public as to the affiliation, connection,
22     association, origin, sponsorship, or approval of the counterfeit products to the
23     detriment of Patagonia and in violation of 15 U.S.C. § 1125(a)(1).
24            30.    As a direct and proximate result of Defendant’s conduct, Patagonia is
25     entitled to recover up to treble the amount of Defendant’s unlawful profits and
26     Patagonia’s damages, and an award of attorneys’ fees under 15 U.S.C. § 1117(a).
27            31.    Patagonia is entitled to injunctive relief pursuant to 15 U.S.C. § 1116(a)
28     that requires Defendant to stop use of the Counterfeit Designs, and any other mark

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1      or design similar to the PATAGONIA trademarks.
2                                            THIRD CLAIM
3                                  FEDERAL COUNTERFEITING
4                                       (15 U.S.C. §§ 1114-1117)
5             32.      Patagonia realleges and incorporates by reference each of the
6      allegations contained in paragraphs 1 through 31 of this Complaint.
7             33.      Defendant has used, in connection with the sale, offering for sale,
8      distribution, or advertising of products, counterfeit imitations of Patagonia’s
9      PATAGONIA trademarks.
10            34.      These acts of counterfeiting have been committed with the intent to
11     cause confusion, mistake, or deception, and are in violation of 15 U.S.C. § 1114.
12     The fact that Defendant was previously an authorized dealer – and therefore familiar
13     with Patagonia’s trademarks, products, and labeling – underscores the willfulness
14     with which Defendant decided to source and sell the counterfeit products at issue in
15     this lawsuit.
16            35.      As a direct and proximate result of Defendant’s conduct, Patagonia is
17     entitled to recover treble the amount of Defendant’s unlawful profits and
18     Patagonia’s damages and an award of attorneys’ fees under 15 U.S.C. § 1117(a).
19            36.      As a direct and proximate result of Defendant’s conduct, Patagonia is
20     entitled to recover statutory damages based on such defendants’ willful
21     counterfeiting, pursuant to 15 U.S.C. § 1117(c).
22            37.      Patagonia is entitled to injunctive relief pursuant to 15 U.S.C. § 1116(a)
23     that requires Defendant to stop use of the Counterfeit Designs, and any other mark
24     or design similar to the PATAGONIA trademarks.
25                                         FOURTH CLAIM
26                          FEDERAL DILUTION OF FAMOUS MARK
27               (Trademark Dilution Revision Act of 2006, 15 U.S.C. § 1125(c))
28            38.      Patagonia realleges and incorporates by reference each of the

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1      allegations contained in paragraphs 1 through 37 of this Complaint.
2             39.     Patagonia’s PATAGONIA trademarks (including the P-6 logo) are
3      distinctive and famous within the meaning of the Trademark Dilution Revision Act
4      of 2006, 15 U.S.C. § 1125(c), and were famous prior to Defendant’s adoption of the
5      Counterfeit Designs.
6             40.     Defendant’s conduct is likely to cause dilution of Patagonia’s
7      PATAGONIA trademark by diminishing its distinctiveness in violation of the
8      Trademark Dilution Revision Act of 2006, 15 U.S.C. § 1125(c).
9             41.     As a direct and proximate result of Defendant’s conduct, Patagonia is
10     entitled to recover up to treble the amount of Defendant’s unlawful profits and
11     Patagonia’s damages, and an award of attorney’s fees under 15 U.S.C. §§ 1116(a),
12     1117(a), and 1125(c).
13            42.     Patagonia is entitled to injunctive relief pursuant to 15 U.S.C.
14     §§ 1116(a) and 1125(c) that requires Defendant to stop use of the Counterfeit
15     Designs, and any other mark or design similar to the PATAGONIA trademarks.
16                                         FIFTH CLAIM
17                         FEDERAL COPYRIGHT INFRINGEMENT
18                    (17 U.S.C. §§ 101, et seq., and 17 U.S.C. §§ 501, et seq.)
19            43.    Patagonia realleges and incorporates by reference each of the
20     allegations contained in paragraphs 1 through 42 of this Complaint.
21            44.    Patagonia owns the copyright in its P-6 logo, which is federally
22     registered and was registered prior to Defendant’s copying.
23            45.    Defendant has copied, advertised, offered for sale, and/or sold
24     substantially similar copies of the P-6 logo without Patagonia’s authorization or
25     permission and in violation of Patagonia’s exclusive rights in its copyright.
26            46.    Defendant’s unlawful reproduction, advertisement, distribution, and/or
27     sale of Patagonia’s proprietary design constitutes copyright infringement. Patagonia
28     alleges that Defendant acted intentionally and in bad faith when it reproduced

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1      Patagonia’s copyrighted work (in identical or substantially similar form), and
2      advertised, distributed, displayed, and/or sold products bearing the Counterfeit
3      Designs.
4             47.    Defendant’s infringement alleged herein has caused and, if not
5      enjoined, will continue to cause Patagonia to suffer irreparable harm for which there
6      is no adequate remedy at law, and has also caused damage to Patagonia in an
7      amount which cannot be accurately computed at this time but will be proven at trial.
8             48.    As a direct and proximate result of Defendant’s conduct, Patagonia is
9      entitled to injunctive relief, as well as actual damages and any profits earned by
10     Defendant as a result of its infringements, or statutory damages of up to $150,000
11     for each work infringed, at Patagonia’s election, pursuant to 17 U.S.C. § 504.
12                                          SIXTH CLAIM
13            TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION
14                          UNDER CALIFORNIA STATUTORY LAW
15                              (Cal. Bus. & Prof. Code §§ 14200 et seq.;
16                              Cal. Bus. & Prof. Code § 17200 et seq.)
17            49.    Patagonia realleges and incorporates by reference each of the
18     allegations contained in paragraphs 1 through 48 of this Complaint.
19            50.    Patagonia is the owner of numerous registrations for the PATAGONIA
20     trademarks, as well as common law rights in those marks.
21            51.    Defendant is using a design that infringes upon Patagonia’s
22     PATAGONIA trademarks without the consent of Patagonia and in connection with
23     the sale, offering for sale, distribution, or advertising of its products bearing the
24     Counterfeit Designs.
25            52.    Defendant’s infringement of Patagonia’s PATAGONIA trademarks is
26     likely to cause confusion, mistake, and deception as to the source of the origin of
27     Defendant’s offerings.
28            53.    Defendant uses the Counterfeit Designs to enhance the commercial

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1      value of Defendant’s offerings.
2             54.    Defendant’s acts violate Patagonia’s trademark rights under California
3      Business & Professions Code §§14245 et seq.
4             55.    Defendant’s conduct as alleged in this Complaint also constitutes
5      “unlawful, unfair or fraudulent business act[s] or practice[s] and unfair, deceptive,
6      untrue or misleading advertising” within the meaning of California Business &
7      Professions Code §§ 17200 et seq.
8             56.    Patagonia is entitled to monetary damages and injunctive relief
9      prohibiting Defendant from using the Counterfeit Designs, or any other mark or
10     design that is likely to be confused with the PATAGONIA trademarks.
11            57.    Without injunctive relief, Patagonia has no means by which to control
12     the continuing injury to its reputation and goodwill or that of its PATAGONIA
13     trademarks. Patagonia has been and will continue to be irreparably harmed. No
14     amount of money damages can adequately compensate Patagonia if it loses the
15     ability to control its marks.
16            58.    Because Defendant’s actions have been committed willfully,
17     maliciously, and intentionally, Patagonia is entitled to treble the amount of
18     Defendants’ unlawful profits and Patagonia’s damages under California Business &
19     Professions Code § 14250.
20            59.    Because Defendants’ conduct has been undertaken willfully,
21     intentionally and in reckless disregard of the possible injurious consequences,
22     Patagonia is entitled to exemplary or punitive damages under Cal. Civ. Code § 3294.
23                                       SEVENTH CLAIM
24                  TRADEMARK DILUTION UNDER CALIFORNIA LAW
25                               (Cal. Bus. & Prof. Code § 14247)
26            60.    Patagonia realleges and incorporates by reference each of the
27     allegations contained in paragraphs 1 through 59 of this Complaint.
28            61.    Patagonia owns valid and protectable rights in its PATAGONIA

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1      trademarks (including the P-6 logo).
2             62.    The PATAGONIA trademarks – registered marks in the state of
3      California – are distinctive and famous within the meaning of the California Model
4      State Trademark Law, Cal. Bus. & Prof. Code § 14247, in that it is a household
5      brand in California, and were famous prior to Defendant’s adoption of the
6      Counterfeit Designs.
7             63.    Defendant’s acts are likely to dilute the distinctive quality of the
8      PATAGONIA trademarks. Defendant’s acts therefore constitute trademark dilution
9      under California Business & Professions Code § 14247, the analogous statutes of
10     other states, and under California common law.
11            64.    Patagonia is entitled to monetary damages and injunctive relief
12     prohibiting Defendant from using the Counterfeit Designs, and any other mark
13     or design similar to the PATAGONIA trademarks. Without injunctive relief,
14     Patagonia has no means by which to control the continuing dilution of the
15     PATAGONIA trademarks. Patagonia has been and will continue to be irreparably
16     harmed. No amount of money damages can adequately compensate Patagonia for
17     such harm.
18            65.    Because Defendant’s actions have been committed willfully,
19     maliciously, and intentionally, Patagonia is entitled to treble the amount of
20     Defendant’s unlawful profits and Patagonia’s damages under California Business &
21     Professions Code § 14250.
22            66.    Because Defendant’s conduct has been undertaken willfully,
23     intentionally and in reckless disregard of the possible injurious consequences,
24     Patagonia is entitled to exemplary or punitive damages under Cal. Civ. Code § 3294.
25                                        EIGHTH CLAIM
26      TRADEMARK INFRINGEMENT UNDER CALIFORNIA COMMON LAW
27            67.    Patagonia realleges and incorporates by reference each of the
28     allegations contained in paragraphs 1 through 66 of this Complaint.

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1              68.   Patagonia owns valid and protectable rights in its PATAGONIA
2      trademarks at common law.
3              69.   Defendant’s conduct is likely to cause confusion, to cause mistake, or
4      to deceive as to the source of goods offered by Defendant, or as to affiliation,
5      connection, association, sponsorship, or approval of such goods and services, and
6      constitutes infringement of Patagonia’s PATAGONIA trademarks at common law.
7              70.   Defendant infringed Patagonia’s PATAGONIA trademarks with
8      knowledge and intent to cause confusion, mistake, or deception.
9              71.   Defendant’s conduct is aggravated by that kind of willfulness, wanton-
10     ness, malice, and conscious indifference to the rights and welfare of Patagonia for
11     which California law allows the imposition of exemplary damages.
12             72.   As a direct and proximate result of Defendant’s activities, Patagonia
13     has suffered substantial damage.
14             73.   Unless restrained and enjoined, the conduct of Defendant will further
15     impair the value of the PATAGONIA trademarks and Patagonia’s business
16     reputation and goodwill. Patagonia has no adequate remedy at law.
17             74.   Patagonia is entitled to monetary damages and injunctive relief
18     prohibiting Defendant from using the Counterfeit Designs, and any other mark or
19     design similar to the PATAGONIA trademarks.
20             75.   Without injunctive relief, Patagonia has no means by which to control
21     the continuing injury to its reputation and goodwill or that of its PATAGONIA
22     trademarks. Patagonia has been and will continue to be irreparably harmed. No
23     amount of money damages can adequately compensate Patagonia if it loses the
24     ability to control its marks.
25             76.   Because Defendant’s actions have been committed willfully,
26     maliciously, and intentionally, Patagonia is entitled to recover reasonable attorneys’
27     fees and compensatory and punitive damages (see Cal. Civ. Code § 3294).
28     / / /

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1                                      PRAYER FOR JUDGMENT
2             WHEREFORE, Patagonia prays that this Court grant it the following relief:
3             1.       Adjudge that Defendant has infringed the PATAGONIA trademarks in
4      violation of Patagonia’s rights under 15 U.S.C. § 1114;
5             2.       Adjudge that Defendant has infringed the PATAGONIA trademarks in
6      violation of California statutory law;
7             3.       Adjudge that Defendant has used counterfeit reproductions of
8      Patagonia’s registered trademarks in violation of Federal and California law;
9             4.       Adjudge that Defendant has infringed Patagonia’s common law rights
10     in the PATAGONIA trademarks;
11            5.       Adjudge that Defendant has competed unfairly with Patagonia in
12     violation of Patagonia’s rights under 15 U.S.C. § 1125(a);
13            6.       Adjudge that Defendant has competed unfairly with Patagonia in
14     violation of California statutory law;
15            7.       Adjudge that Defendant’s activities are likely to dilute Patagonia’s
16     famous PATAGONIA trademarks in violation of Patagonia’s rights under 15 U.S.C.
17     § 1125(c) and/or California law;
18            8.       Adjudge that Defendants have infringed Patagonia’s copyright rights in
19     its P-6 logo;
20            9.       Adjudge that Defendant and its agents, employees, attorneys,
21     successors, assigns, affiliates, and joint venturers, and any person(s) in active
22     concert or participation with it, and/or any person(s) acting for, with, by, through or
23     under it, be enjoined and restrained at first during the pendency of this action and
24     thereafter permanently from:
25                     a.       Manufacturing, producing, sourcing, importing, selling, offering
26     for sale, distributing, advertising, or promoting any goods or services that display
27     any words or symbols that so resemble the PATAGONIA trademarks as to be likely
28     to cause confusion, mistake, or deception, on or in connection with any product that

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1      is not authorized by or for Patagonia, including, without limitation, any product or
2      service that bears the Counterfeit Designs, or any other approximation of
3      Patagonia’s trademarks;
4                    b.         Using any word, term, name, symbol, device, or combination
5      that causes or is likely to cause confusion, mistake, or deception as to the affiliation
6      or association of Defendant or its products with Patagonia, or as to the origin of
7      Defendant’s goods, or any false designation of origin, false or misleading
8      description or representation of fact, or any false or misleading advertising, or likely
9      dilution of the PATAGONIA trademark;
10                   c.         Further infringing the rights of Patagonia in and to its
11     PATAGONIA trademarks, or otherwise damaging Patagonia’s goodwill or business
12     reputation;
13                   d.         Further diluting the famous PATAGONIA trademarks;
14                   e.         Otherwise competing unfairly with Patagonia in any manner;
15                   f.         Further infringing Patagonia’s copyright rights in its P-6 logo
16     design, including by reproducing, distributing, or displaying such logo or any other
17     logo or design that is substantially similar to the P-6 logo; and
18                   g.         Continuing to perform in any manner whatsoever any of the
19     other acts complained of in this Complaint;
20            10.    Adjudge that Defendant is prohibited from applying to register any
21     trademark or service mark which is likely to be confused with, or that dilutes the
22     distinctive quality of, Patagonia’s PATAGONIA trademarks;
23            11.    Adjudge that Defendant be required immediately to deliver to
24     Patagonia’s counsel its entire inventory of counterfeit and infringing products,
25     including without limitation, patches and any other products, packaging, labeling,
26     advertising and promotional material, and all plates, patterns, molds, matrices, files,
27     data, and other material for producing or printing such items, that are in their
28     possession or subject to their control and that infringe Patagonia’s trademarks as

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1      alleged in this Complaint;
2             12.    Adjudge that Defendant be required immediately, in light of the risks to
3      the public posed by Defendant’s sale of falsely-labeled products, take all steps
4      necessary to effectively recall any products it has distributed bearing or associated
5      with the Counterfeit Designs and not manufactured under Patagonia’s authority;
6             13.    Adjudge that Defendant, within thirty (30) days after service of the
7      Court’s judgment, be required to file with this Court and serve upon Patagonia’s
8      counsel a written report under oath setting forth in detail the manner in which it has
9      complied with the judgment;
10            14.    Adjudge that Patagonia recover from Defendant its damages and lost
11     profits, and Defendant’s profits in an amount to be proven at trial;
12            15.    Adjudge that Defendant be required to account for any profits that are
13     attributable to their illegal acts, and that Patagonia be awarded (1) Defendant’s
14     profits and (2) all damages sustained by Patagonia, under 15 U.S.C. § 1117, plus
15     prejudgment interest;
16            16.    Adjudge that the amounts awarded to Patagonia pursuant to 15 U.S.C.
17     § 1117 shall be trebled;
18            17.    Adjudge that Patagonia recover damages based on Defendant’s
19     counterfeit use of Patagonia’s registered trademarks, including statutory damages at
20     Patagonia’s election;
21            18.    Adjudge that Patagonia recover from Defendant its damages based on
22     Defendant’s copyright infringement, or statutory damages at Patagonia’s election;
23            19.    Adjudge that Patagonia recover punitive or exemplary damages from
24     Defendant based on Defendant’s conduct done willfully, intentionally and in
25     reckless disregard of its possible injurious consequences.
26            20.    Order an accounting of and impose a constructive trust on all of
27     Defendant’s funds and assets that arise out of its infringing, dilutive activities;
28            21.    Adjudge that Patagonia be awarded its costs and disbursements

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1      incurred in connection with this action, including Patagonia’s reasonable attorneys’
2      fees and investigative expenses; and
3             22.    Adjudge that all such other relief be awarded to Patagonia as this Court
4      deems just and proper.
5
6      DATED: May 30, 2023               Respectfully submitted,

7                                        VERSO LAW GROUP LLP

8
9                                        By: /s/ Gregory S. Gilchrist
                                             GREGORY S. GILCHRIST
10                                           RYAN BRICKER
                                             SOPHY TABANDEH
11                                           PAYMANEH PARHAMI
12                                       Attorneys for Plaintiff
                                         PATAGONIA, INC.
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1                                  DEMAND FOR JURY TRIAL
2             Patagonia, Inc. demands that this action be tried to a jury.
3
4      DATED: May 30, 2023               Respectfully submitted,
5                                        VERSO LAW GROUP LLP
6
7                                        By: /s/ Gregory S. Gilchrist
                                             GREGORY S. GILCHRIST
8                                            RYAN BRICKER
9                                            SOPHY TABANDEH
                                             PAYMANEH PARHAMI
10
                                         Attorneys for Plaintiff
11                                       PATAGONIA, INC.
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